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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN


                                       MINUTES

CASE CAPTION: Oard v. Muskegon County, et al


Case Number: 1:17-cv-1136
Date: April 16, 2018
Time: 9:59 a.m. - 10:06 a.m.
Place: Kalamazoo
Judge: Paul L. Maloney


APPEARANCES

       Plaintiff: Sarah Riley Howard

       Defendants: Laura S. Amtsbuechler

PROCEEDINGS

Nature of Hearing: Telephone Rule 16 scheduling conference conducted; case management
order to issue




Court Reporter: Proceedings not recorded            Case Manager: Amy Redmond
